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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

KATHLEEN ASHTON, as Administrator
of the Estate of Thomas Ashton, Deceased

and on behalf of ail survivors of Thomas Ashton, (02 CY 6 9 ’

JOSEPHINE ALGER and FREDERICK ALGER, as Co- +
Executors of the Estate of David D. Alger, Deceased
and on behalf of all of survivors of David D. Alger;

ANGELICA ALLEN, as Administrator
of the Estate of Eric AHen, Deceased COMPLAINT
and on behalf of ali survivors of Eric Allen;

GEORGE ANDRUCKI and MARY ANDRUCKL, as co- Civil Action No.
Administrators of the Estate of Jean Andrucki, Deceased
and on behalf of all survivors of Jean Andrucki,

Jury Trial Demanded
ALEXANDER PAUL ARANYOS and
WINIFRED ARANYOS, as co-Administrators
of the Estate of Patrick Michae! Aranyos, Deceased
and on behalf of all survivors of Patrick Michael Aranyos;

MARGARET ARCE, as Administrator
of the Estate of David Gregory Arce, Deceased,
and on behalf of ail survivors of David Gregory Arce,

MARGIT ARIAS, as Administrator
of the Estate of Adam Peter Arias, Deceased,
and on behalf of all survivors of Adam Peter Arias;

EVELYN ARON, as Executor
of the Estate of Jack Charles Aran, Deceased
and on behalf of all survivors of Jack Charles Aron.

NANCY BADAGLIACCA, as Administrator
of the Estate of John J. Badagliacca, Deceased
and on behalf of all survivors of John J. Badagliacca;

CHRISTINA BAKE SH, as Executor 2
of the Estate of Michael S. Baksh, Deceased :
and on behalf of al! survivors of Michael S. Baksh; Coes .s

JOANNE BARBARA, as Executor ~
of the Estate of Gerard Barbara, Deceased
and on behalf of all survivors of Gerard Barbara;
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DANIEL F. BARKOW, as Administratar
of the Estate of Colleen Ann Barkow, Deceased
and on behalf of ail survivors of Colleen Ann Barkow;

NINA BARNES, as Administrator
of the Estate of Durrell Pearsall, Deceased
and on behalf of all survivors of Durrell Pearsall;

JEANNINE P. BARON, as Executor
of the Estate of Evan J. Baron, Deceased
and on behalf of all survivors of Evan J. Baron;

JANE BARTELS, as Executor
of the Estate of Carlton Bartels, Deceased
and on behalf of all survivors of Carlton Bartels;

KIMBERLY KAIPAKA BEAVEN, as Eacculur
of the Estate of Alan Beaven, Deceased
and on behalf of all survivors of Alan Beaven;

MICHELLE BEDIGIAN, as Administrator
of the Estate of Carl Bedigian, Deceased
and on behalf of all survivors of Carl Bedigian;

SUSAN BERGER, as Administrator
of the Estate of Steven Howard Berger, Deceased
and on behalf of all survivors of Steven Howard Berger,

MADELINE BERGIN, as Administrator
of the Estate of John Bergin, Deceased
and on behalf of all survivors of John Bergin,

MIRIAM M, BIEGELEISEN, as Administrator
of the Estate of Shimmy D. Biegeleisen, Deceased
and on behalf of all survivors of Shimmy D. Biegeleisen;

CHRISTINE BINI, as Administrator,
of the Estate of Carl Bini, Deceased
and on behalf of all survivors of Carl Bini;

NEIL B. BLASS, as Administrator
of the Estate of Craig M. Blass, Deceased
and on behalf of all survivors of Craig M. Blass:

KRIS A. BLOOD, as Executor
of the Estate of Richard M. Blood, Deceased
and on behalf of all survivors of Richard M. Blood;

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DOROTHY ANN BOGDAN, as Administrator
of the Estate of Nicholas Andrew Bogdan, Deceased
and on behalf of all survivors of Nicholas Andrew Bogdan;

MARIA TERESA BOISSEAU, as Proposed Personal
Representative of the Estate of Lawrence Boisseau, Deceased,
and on behalf of all survivors of Lawrence Boisseau;

KATHLEEN BOX, as Administrator
of the Estate of Gary R. Box, Deceased
and on behalf of all survivors of Gary R. Box.

JAMES BOYLE, as Administrator
of the Estate of Michael Boyle, Deceased
and on behalf of all survivors of Michael Boyle;

DAVID BRACE, as Administrator
of the Estate of Sandra Conaty Brace, Deceased
and on behalf of all survivors of Sandra Conaty Brace;

CURTIS FRED BREWER, as Executor
of the Estate of Carol Keyes Demitz, Deceased
and on behalf of all survivors of Carol Keyes Demitz;:

HILLARY A. BRILEY, as Administrator
of the Estate of Jonathan E. Briley, Deceased
and on behalf of all survivors of Jonathan E. Briley;

URSULA BROGHAMMER, as Executor
of the Estate of Herman C. Broghammer, Deceased
and on behalf of all survivors of Herman C. Broghammer;

JoANNE BRUEHERT, as Administrator
of the Estate of Richard G. Bruehert, Deceased
and on behalf of all survivors of Richard G. Bruehert;

JUAN B. BRUNO, as Administrator
of the Estate of Rachel Tamares, Deceased
and on behalf of all survivors of Rachel Tarnares;

SUSAN E. BUHSE, as Administrator
of the Estate of Patrick Joseph Buhse, Deceased
and on behalf of all survivors of Patrick Joseph Buhse;

ELIZABETH R. BURNS, as Administrator
of the Estate of Donald J. Burns, Deceased
and on behalf of all survivors of Donald J. Burns;

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JAMES C.. CAHTILI., as Administrator
of the Estate of Scott Walter Cahill, Deceased
and on behalf of all survivors of Scott Walter Cahill;

JAMES W. CAHILL and KATHLEEN CAHILL, as co-
Administrators of the Estate of Thomas Cahilj, Deceased
and on behalf of all survivors of Thomas Cahill;

DEBORAH CALDERON, as Administrator
of the Estate of Edward Calderon, Deceased
and on behalf of all survivors of Edward Calderon;

JANET CALIA, as Administrator
of he Estate of Dominick Enrico Calia, Deceased
and on behalf of all survivors of Dominick Enrico Calia;

JACQUELINE CANNIZZARO, as Administrator
of the Estate of Brian Cannizzaro, Deceased
and on behalf of all survivors of Brian Cannizzaro;

CATHY A. CARILLI, as Administrator
of the Estate of Thomas E. Sinton, IIT Deceased
and on behalf of all survivors of Thomas E. Sinton, IT;

TONI ANN CARROLL, as Executor
of the Estate of Peter J. Carroll, Deceased
and on behalf of all survivors of Peter J. Carroll;

JUDITH CASORIA, as Administrator
of the Estate of Thomas Anthony Casoria, Deceased
and on behalf of all survivors of Thomas Anthony Casoria,

TRACY ANN TABACK CATALANO, as Executor
of the Estate of Harry Taback, Deceased
and on behalf of all survivors of Harry Taback;

SANTA CATARELLI, as Executor
of the Estate of Richard G. Catarelli, Deceased
and on behalf of al! survivors of Richard G. Catarelli;

GINA CAYNE, as Administrator
of the Estate of Jason Cayne, Deceased
and on behalf of all survivors of Jason Cayne;,

SUK TAN CIJIN, as Administrator
of the Estate of Robert Chin, Deceased
and on behalf of all survivors of Robert Chin;

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EDWARD P. CLAFARDINI, as Administrator
of the Estate of Christopher Ciafardini, Deceased
and on behalf of all survivors of Christopher Ciafardini;

LISA DiLALLO CLARK, as Administrator
of the Estate of Thomas R. Clark, Deceased
and on behalf of all survivors of Thomas R. Clark;

YUKO CLARK, as Personal Representative
of the Estate of Gregory A. Clark, Deceased
and on behalf of all survivors of Gregory A. Clark;

MARYANN COLIN, as Administrator
of the Estate of Robert Dana Colin, Deceased
and on behalf of all survivors of Robert Dana Colin;

JULIA COLLINS, as Administrator
of the Estate of Thomas J. Collins, Deceased
and on behalf of all survivors of Thomas J. Collins;

PATRICIA COPPO, as Administrator
of the Estate of Joseph Coppo, Deceased
and on behalf of all survivors of Joseph Coppo;

EDITH CRUZ, as Administrator
of the Estate of Angela Rosario, Deceased
and on behalf of all survivors of Angela Rosario;

ILDEFONSO A. CUA, as Administrator
of the Estate of Grace Alegre Cua, Deceased
and on behalf of all survivors of Grace Alegre Cua;

LINDA CURIA, as Executor
of the Estate of Laurence Curia, Deceased
and on behalf of all survivors of Laurence Curia,

DAVID EDWARD CUSHING, as Administrator
of the Estate of Patricia Cushing, Deceased
and on behalf of all survivors of Patricia Cushing;

LOUISA D’ANTONIO, as Administrator
of the Estate of Mary D’ Antonio, Deceased
and on behalf of all survivors of Mary D’ Antonio;

BERIL SOFIA DeFEO, as Administrator
of the Estate of David DeFeo, Deceased
and on behalf of all survivors of David DeFeo;

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VINCENT J. DELLA BELI.A, as Administrator
of the Estate of Andrea Della Bella, Deceased
and on behalf of all survivors of Andrea Della Bella;

TODD DeVITO, as Administrator
of the Estate of Jerry DeVito, Deceased
and on behalf of all survivors of Jerry DeVito;

MILAGROS DIAZ, as Administrator
of the Estate of Lourdes Janet Galletti, Deceased
and on behalf of all survivors of Lourdes Janet Galletti;

ANDY DINNOO and DHANMATEE SAM, as
co-Administrators of the Estate of Rena Sam-Dinnoo, Deceased
and on behalf of al! survivors of Rena Sam-Dinnoo;

MARIA DiPILATO, as Administrator
of the Estate of Joseph DiPilato, Deceased
and on behalf of all survivors of Joseph DiPilato,

STACEY FRAN DOLAN, as Executor
of the Estate of Brendan Dolan, Deceased
and on behalf of all survivors of Brendan Nalan;

ROSALIE DOWNEY, as Administratix
af the Estate of Raymond M. Downey, Deceased
and on behalf of all survivors of Raymond M. Downey;

JAY CHARLES DUNNE, as Personal Representative
of the Estate of Christopher Joseph Dunne, Deceased
and on behalf of all survivors of Christopher Joseph Dunne;

STANLEY ECKNA, as Personal Representative
of the Estate of Paul Robert Eckna, Deceased
and on behalf of all survivors of Pau! Robert Eckna,

DENISE ESPOSITO, as Administrator
of the Estate of Michael Esposito, Deceased
and on behalf of all survivors of Michael Esposito;

DENNIS EULAU, as (ad prosequendum)
of the Estate of the Michele Coyle Eulau, Deceased
and on behalf of all survivors of Michele Coyle Eulau;

MARYANNE FARRELL, as Administrator
of the Estate of John Farrell, Deceased
and on behalf of all survivers of John Farrell;

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MELISSA VAN NESS FATHA. as Administrator
of the Estate of Sayed Abdul Fatha, Deceased
and on behalf of all survivors of Sayed Abdul Fatha;

STEVEN FEIDELBERG, as Administrator
of the Estate of Peter Adam Feidelberg, Deceased
and on behalf of all survivors of Peter Adam Feidelberg;

WENDY FEINBERG, as Executor
of the Estate of Alan Feinberg, Deceased
and on behalf of all survivors of Alan Feinberg;

CHARLENE FIORE, as Administrator
of the Estate of Michael Fiore, Deceased
and on behalf of all survivors of Michael Fiore;

BRIAN PLANNERY, as Personal Representative
of the Estate of Christina Donovan Flannery, Deceased
and on behalf of all survivors of Christina Donovan Flannery;

ROBERT T. FOLGER, as Administrator
of the Estate of Jane Claire Folger, Deceased
and an behalf of all survivors of Jane Claire Folger;

KURT FOSTER, as Executor
of the Estate of Claudia Foster, Deceased
and on behalf of all survivors of Claudia Foster;

CLAUDIA FLYZIK and NANCY WALSH, , as co-
Administrators of the Estate of Carol Flyzik, Deceased
and on behaif of all survivors of Carel Flyzik;

CAROL FRANCGLINI, as Personal Representative
of the Estate of Arthur Joseph Jones, III, Deceased
and on behalf of all survivors of Arthur Joseph Jones, TIT;

HELEN FRIEDLANDER as Executor
of the Estate of Alan W. Friedlander, Deceased
and on behalf of all survivors of Alan W. Friedlander;

LISA FRIEDMAN, as Administrator
of the Estate of Andrew Friedman, Deceased
and on behalf of all survivors of Andrew Friedman;

ANNE GABRIEL, as Executor
of the Estate of Richard Gabriel, Deceased
and on behalf of all survivors of Richard Gabriel;

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MONICA M. GARRIFLI.F, as Executor
of the Estate of Richard Gabrielle, Deceased
and on behalf of all survivors of Richard Gabrielle;

KATHLEEN GANCI, as Executor
of the Estate of Peter J. Ganci, Jr., Deceased
and on behalf of all survivors of Peter J. Ganci, Jr.;

DOROTHY GARCIA, as Executor
of the Estate of Andrew Garcia, Deceased
and on behalf of all survivors of Andrew Garcia;

HECTOR GARCIA and CARMEN GARCIA, as
co-Administrators of the Estate of Marlyn C, Garcia, Deceased
and on behalf of all survivors of Marlyn C. Garcia;

ELIZABETH GARDNER, as Administrator
of the Estate of Thomas Gardner, Deceased
and on behalf of all survivors of Thomas Gardner;

DIANE GENCO, as Administrator
of the Estate of Peter Genco, Deceased
and on behalf of all survivors of Peter Geneon,

PHILIP GERMAIN, as Proposed Administrator
of the Estate of Denis Germain, Deceased
and on behalf of all survivors of Denis Germain;

CAROL GIES, as Administrator
of the Estate of Ronnie Gies, Deceased
and on behalf of all survivors of Ronnie Gies

JOHN J. GILL, as Administrator
of the Estate of Paul John Gill, Deceased
and on behalf of all survivors or Paul John Gill;

SERINA GILLIS, as Prospective Administrator
of the Estate of Rodney Gillis, Deceased
and on behalf of all survivors of Rodney Gillis;

ANGELA GITTO, as Administrator
of the Estate of Salvatore Gitto, Deceased
and on behalf of all survivors of Salvatore Gitto;

MEG BLOOM GLASSER, as Executor
of the Estate of Thomas Glasser, Deceased
and on behalf of all survivors of Thomas Glasser,

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SHARON COBB-GLENN, as Administrator
of the Estate of Harry Glenn, Deceased
and on behalf of all survivors of Harry Glenn;

HELENE PARISI-GNAZZO, as Administrator
of the Estate of John T. Gnazzo, Deceased
and on behalf of all survivors of John T. Gnazzo;

JODIE GOLDBERG, as Administrator
of the Estate of Brian Goldberg, Deceased
and on behalf of all survivors of Brian Goldberg;

MIA GONZALES, as Personal Representative
of the Estate of Lydia Bravo, Deceased
and on behalf of all survivors of Lydia Bravo,

DEBORAH GRAZIOSO, as Executor
of the Estate of Timothy Grazioso, Deceased
and on behalf of all survivors of Timothy Grazioso;

CLAUDETTE B. GREENE, as Executor
of the Estate of Donald F. Greene, Deceased
and on behalf of all survivors of Donald F. Greene;

PETER GREENLEAF, as Administrator
of the Estate of James Arthur Greenleaf. Deceased
and on behalf of all survivors of James Arthur Greenleaf;

JOANNE GROSS, as Administrator
of the Estate of Thomas Foley, Deceased
and on behalf of all survivors of Thomas Foley;

MARY HAAG, as Fiduciary
of the Estate of Gary Haag, Deceased
and on behalf of all survivors of Gary Haag;

GORDON HABERMAN & KATHLEEN HABERMAN,
as co-Administrators of the Estate of Andrea Haberman,
Deceased, and on behalf of all survivors of Andrea Haberman,

PATRICIA HAN, as Administrator
of the Estate of Frederic K. Han, Deceased
and on behalf of all survivors of Frederic K. Han;

RENEE BACOTTI HANNAFIN, as Administrator
of the Estate of Thomas Hannafin, Deceased
and on behalf of all survivors of Thomas Hannafin,

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RACHEL R. HARRELL, as Administrator
of the Estate of Harvey Harrell, Deceased
and on behalf of all survivors of Harvey Harrell;

SHEILA GAIL HARRIS, as Executor
of the Estate of Stewart Dennis Harris, Deceased
and on behalf of all survivors of Stewart Dennis Harris;

JENNIFER L. HARVEY, as Administrator
of the Estate of Emeric Harvey, Deceased
and on behalf of all survivors of Emeric Harvey;

KELLY HAYES, as Executor
of the Estate of Scott J. O’Brien, Deceased
and on behalf of all survivors of Scott J. O’ Brien;

VIRGINIA HAYES, as Eaccuton
of the Estate of Philip Thomas Hayes, Deceased
and on behalf of all survivors of Philip Thomas Hayes;

ANN R. HAYNES, as Administrator
of the Estate of William Ward Haynes, Deceased,
and on behalf of all survivors of William Ward Haynes;

THERESA HEALEY, as Administrator
of the Estate of Michael Healey, Deceased
and on behalf of all survivors of Michael Healey;

SHIRLEY HENDERSON and HASHIM A. HENDERSON, as
co-Administrators of the Estate of Ronnie Lee Henderson, Deceased
and on behalf of all survivors of Ronnie Lee Henderson;

KAREN HINDS, as Administrator
of the Estate of Neil Hinds, Deceased
and on behalf of all survivors of Neil Hinds;

DENNIS L. HOBBS and DIXIE M. HOBBS,
as co-Administrators of the Estate of Tara Yvette Hobbs,
Deceased and on behalf of all survivors of Tara Yvette Hobbs,

PAMELA HOHLWECK, as Administrator
of the Thomas W. Hohlweck, Jr., Deceased
and on behalf of all survivors of Thomas W. Hohlweck, Jr.;

KATHLEEN HOLLAND, as Administrator
of the Estate of Joseph F. Holland, III, Deceased
and on behalf of all survivors of Joseph F. Holland, III;

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RUBINA COX-HOTI.OWAY, as Administrator
of the Estate of Daryl Leron McKinney, Deceased
and on behalf of all survivors of Daryl Leron McKinney;

JOANN T. HOWARD, as Administrator
of the Estate of Joseph Howard, Deceased
and on behalf of all survivors of Joseph Howard:

BRIDGET HUNTER , as Administrator
of the Estate of Joseph Hunter, Deceased
and on behalf of all survivors of Joseph Hunter;

KATHRYN J. HUSSA, as Executor
of the Estate of Robert R. Hussa, Deceased
and on behalf of all survivors of Robert R. Hussa;

YESENIA IELPI, as Administrator
of the Estate of Jonathan Ielpi, Deceased
and on behalf of all survivors of Jonathan Ielpi;

FREDERICK IRBY, as Administrator
of the Estate of Stephanie Irby, Deceased
and on behalf of all survivors of Stephanie Irby;

MARGARET P. ISKYAN, as Executor
of the Estate of John Francis Iskyan, Deceased
and on behalf of all survivors of John Francis Iskyan;

JENNIFER RUTH JACOBS, as Administrator
of the Estate of Ariel Louis Jacobs, Deceased
and on behalf of all survivors of Ariel Louis Jacobs;

KAZIMIERZ JAKUBIAK, as Personal Representative
of the Estate of Maria Jakubiak, Deceased
and on behalf of all survivors of Maria Jakubiak;

ALINE JENKINS, as Personal Representative
of the Estate of Joseph Jenkins, Deceased
and on behalf of all survivors of Joseph Jenkins,

LEILA M. JOSEPH and WOODLY JOSEPH, as co-
Administrators of the Estate of Karl Joseph, Deceased
and on behalf of all survivors of Karl Joseph:

PAUL KAUFMAN, as Executor
of the Estate of Scott Martin McGovern, Deceased
and on behalf of all survivors of Scott Martin McGovern;

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ELIZABETH H. KELLER, as Administrator of
the Estate of Chandler Raymond Keller, Deceased
and on behalf of all survivors of Chandler Raymond Keller;

PATRICIA KELLETT, as Administrator
of the Estate of Joseph P. Kellett, Deceased
and on behalf of all survivors of Joseph P. Kellett;

EMMET P. KELLY, as Administrator
of the Estate of Thomas Richard Kelly, Deceased
and on behalf of ali survivors of Thomas Richard Kelly;

ROSEMARY KEMPTON, as Administrator
of ihe Estate of Ruscmary A. Smith, Deceased
and on behalf of all survivors of Rosemary A. Smith;

DONALD FRANCIS KENNEDY, as Executor
of the Estate of Yvonne Estelle Kennedy, Deceased
and on behalf of all survivors of Yvonne Estelle Kennedy;

THERESA KING, as Administrator
of the Estate of Robert King, Jr., Deceased
and on behalf of all survivors of Robert King, Jr.:

RICHARD I. KLEIN, as Executor
of the Estate of Julie Lynne Zipper, Deceased
and on behalf of all survivors of Julie Lynne Zipper,

GRACE KNESKI, as Administrator
of the Estate of Steven Cafiero, Jr., Deceased
and on behalf of all survivors of Steven Cafiero, Jr.;

FRAN LaFORTE, as Executor
of the Estate of Michael P. LaForte, Deceased
and on behalf of all survivors of Michael P. LaForte;

EDLENE C. LaFRANCE, as Administrator of the
Estate of Alan Charles LaFrance, Deceased
and on behalf of all survivors of Alan Charles LaFrance;

COLETTE M. LAFUENTE, as Administrator
of the Estate of Dr. Juan M. Lafuente, Deceased
and on behalf of ali survivors of Dr. Juan M. Lafuente;

MORRIS D. LAMONSOFF, as Administrator
of the Estate of Amy Hope Lamonsoff, Deceased
and on behalf of all survivors of Amy Hope Lamonsoff,

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ANDREA N. T.eBE.ANC, as Administrator
of the Estate of Robert G. LeBlanc, Deceased
and on behalf of all survivors of Robert G. LeBlanc;

DONALD LEISTMAN, as Executor
of the Estate of David R. Leistman, Deceased
and on behalf of all survivors of David R. Leistman;

ELAINE LEUNING, as Administrator
of the Estate of Paul Battaglia, Deceased
and on behalf of all survivors of Paul Battagha;

ROBERTA LEVINE, as Administrator
of the Estate of Robert Levine, Deceased
and on behalf of all survivors of Robert Levine;

JEFFREY LOVETT, as Executor
of the Estate of Jacqueline Norton, Deceased
and on behalf of all survivors of Jacqueline Norton;

KATHLEEN KEELER LOZIER, as Executor
of the Estate of Garry W. Lozier, Deceased
and on behalf of all survivars of Garry W. Lozier;

ANNE MacFARLANE, as Administrator
of the Estate of Marianne MacFarlane, Deceased
and on behalf of all survivors of Marianne MacFarlane;

LISANNE MacKENZIE, as Personal Representative
of the Estate of James P. O’Brien, Deceased
and on behalf of all survivors of James P. O’Brien;

ANDREA MAFFEO, as Administrator
of the Estate of Jennieann Maffeo, Deceased
and on behalf of all survivors of Jennieann Maffeo;

PAMELA ANN MAGGITTI, as Administrator
for the Estate of Joseph Vincent Maggitti, Deceased
and on behalf of all survivors of Joseph Vincent Maggitti,

NATALIE MAKSHANDY, as Administrator
of the Estate of Jason M. Sckzer, Deceased
and on behalf of all survivors of Jason M. Sekzer;

REBECCA L. MARCHAND, as Personal Representative
of the Estate of Alfred G. Marchand, Deceased
and on behalf of all survivors of Alfred G. Marchand;

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RAT. MANUFI. CHAVEZ MARTINEZ, as Administrator
of the Estate of Gregorio Manuel! Chavez Tavera, Deceased
and on behalf of all survivors of Gregorio Manuel Chavez Tavera;

LORI MASCALI, as Administrator
of the Estate of Joseph Mascali, Deceased
and on behalf of all survivors of Joseph Mascali;

DOROTHY MAURO, as Administrator
of the Estate of Charles A. Mauro, Deceased
and on behalf of all survivors of Charles A. Mauro,

MERYL MAYO, as Administrator
of the Estate of Robert Mayo, Deceased
and on behalf of all survivors of Robert Mayo;

MARGARET DONOGHUE MecGINLEY, as Executor
of the Estate of Daniel Francis McGinley, Deceased
and on behalf of all survivors of Daniel Francis McGinley;

ILIANA McGINNIS, as Administrator of the
Estate of Thomas Henry McGinnis, Deceased
and on behalf of all survivors of Thomas Henry McGinnis;

CYNTHIA F. McGINTY, as Administrator
of the Estate of Michael Gregory McGinty, Deceased
and on behalf of all survivors of Michael Gregory McGinty;

THERESA McGOVERN, as Executor
of the Estate of Ann McGovern, Deceased
and on behalf of all survivors of Ann McGovern;

PATRICIA H. McDOWELL, as Administrator
of the Estate of John F. McDowell, Deceased
and on behalf of all survivors of John F. McDowell;

JOANN MEEHAN, as Administrator
of the Estate of Damian Meehan, Deceased
and on behalf of all survivors of Damian Meehan,

FRYDERYK MILEWSKI and ANNA MILEWSKI, as co-
Administrators of the Estate of Lukasz Milewski, Deceased
and on behalf of all survivors of Lukasz Milewski;

AMBER MILLER and JAMIE MILLER, as co-Administratars
of the Estate of Karen Juday, Deceased
and on behalf of all survivors of Karen Juday;

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DIANE MITER, as Administratrix
of the Estate of Henry Miller, Deceased
and on behalf of all survivors of Henry Miller;

FAITH MILLER, as Executor
of the Estate of Robert Alan Miller, Deceased
and on behalf of all survivors of Rebert Alan Miller;

BARBARA MINERVINO , as Executor
of the Estate of Louis J. Minervino, Deceased
and on behalf of all survivors of Louis J. Minervino,

JOANNE MODAFFERI, as Administrator
of the Estate of Louis Modafferi, Deceased
and on behalf of all survivors of Louis Modafferi;

ANNA MOJICA, as Administrator
of the Estate of Manuel Mojica, Deceased
and on behalf of all survivors of Manuel Mojica;

SARADHA MOORTHY, as Administrator
of the Estate of Krishna Moorthy, Deceased
and an behalf of all survivors of Krishna Moorthy;

ELIZABETH ANN MOSS, as Personal Representative
of the Estate of Linda Oliva, Deceased
and on behalf of all survivors of Linda Oliva;

EMILY MOTRONI, as Administrator
of the Estate of Marco Motroni, Deceased
and on behalf of all survivors of Marco Motroni.

LAUREN MURPHY, as Administrator
of the Estate of Matthew T. O’Mahony, Deceased
and on behalf of all survivors of Matthew T. O’Mahony;

ELVIRA P. MURPHY, as Administrator
of the Estate of Patrick Sean Murphy, Deceased
and on behalf of all survivors of Patrick Sean Murphy;

RICHARD B. NAIMAN, as Administrator
of the Estate of Mildred R. Naiman, Deceased
and on behalf of all survivors of Mildred R. Naiman;

EDWARD NAVARRO, as Proposed Administrator
of the Estate of Karen Susan Navarro, Deceased
and on behalf of al! survivors of Karen Susan Navarro;

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WILLIAM NELSON, as Administrator
of the Estate of Theresa Risco, Deceased
and on behalf of all survivors of Theresa Risco;

DANA NOONAN, as Administrator
of the Estate of Robert Walter Noonan, Deceased
and on behalf of all survivors of Robert Walter Noonan;

WILLIAM B. NOVOTNY, as Personal Representative
of the Estate of Brian C. Novotny, Deceased
and on behalf of all survivors of Brian C. Novotny;

WILLIAM O’CONNOR, as Executor
of the Estate of Diana O’Connor, Deceased
and on behalf of all survivors of Diana O’Connor;

JAMES WALLACE O’GRADY, as Exccutor
under the Last Will and Testament of James
Andrew O’Grady, Deceased and on behalf of

all survivors of James Andrew O’Grady;

SHERYL J. OLIVER, as Administrator
of the Estate of Edward Kraft Oliver, Deceased
and on behalf of all survivors of Edward Kraft Oliver;

LISA PALAZZO, as Administrator
of the Estate of Jeffrey Palazzo, Deceased
and on behalf of all survivors of Jeffrey Palazzo;

DONNA PAOLILLO, as Administrator
of the Estate of John Paolillo, Deceased
and on behalf of all survivors of John Paolillo;

HELENE S. PASSARO, as Administrator
of the Estate of Suzanne H. Passaro, Deceased
and on behalf of all survivors of Suzanne H. Passaro;

CHING-PING PENG and MARVIN SCHWARTZ, as co-
Administrators of the Estate of John Schwartz, Deceased
and on behalf of all survivors of John Schwartz,

MARY GOLA PEREZ, as Exccutor
of the Estate of Anthony Perez, Deceased
and on behalf of all survivors of Anthony Perez,

LINDA PICKFORD, as Administrator
of the Estate of Christopher Pickford, Deceased

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and on behalf of all survivors of Christopher Pickford:

NANCY PICONE, as Administrator
of the Estate of Arturo Sereno, Deceased
and on behalf of ali survivors of Arturo Sereno;

JEAN OSLYN POWELL, as Administrator
of the Estate of Shawn E. Powell, Deceased
and on behalf of all survivers of Shawn E. Powell;

KAREN PRINCIOTTA, as Legal Kepresentative
of the Estate of Vincent Princiotta, Deceased
and on behalf of all survivors of Vincent Princiotta;

DOMINIC J. PUOPOLO, SR., as Administrator
of the Estate of Sonia Mercedes Morales Puopolo, Deceased
and un behalf of all survivors of Sonia Mercedes Morales Puopolo;

PATRICIA QUIGLEY, as Executor
of the Estate of Patrick Quigley, Deceased
and on behalf of all survivors of Patrick Quigley;

FRANCINE RAGGIO, as Administrator
of the Estate of Eugene Raggio, Deceased
and on behalf of all survivors of Eugene Raggio;

DEBORAH RANCKE, as Proposed Personal Representative
of the Estate of Alfred Todd Rancke, Deceased
and on behalf of al! survivors of Alfred Todd Rancke;

MARYANN RAND, as Administrator
of the Estate of Adam David Rand, Deceased
and on behalf of all survivors of Adam David Rand;

SADIQ RASOOL, as Administrator
of the Estate of Amenia Rasocl, Deceased
and on behalf of all survivors of Amenia Rasool,

SUSAN RASWEILER, as Administrator
of the Estate of Roger Rasweiler, Deceased
and on behalf of all survivors of Roger Rasweiler;

CATHERINE T. REGENHARD and ALBERT
REGENHARD, as co-Administrators of the

Estate of Christian Michael Regenhard, Deceased

and on behalf of all survivors of Christian Michael Regenhard;

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ELIZABETH REGO, as Administrator
of the Estate of Leah E. Oliver, Deceased
and on behalf of all survivors of Leah E. Oliver;

WILLIAM D. ROBBINS, as Executor
of the Estate of Clarin Schwartz, Deceased
and on behalf of all survivors of Clarin Schwartz;

EVELYN RODRIGUEZ, as Administrator
of the Estate of Anthony Rodriguez, Deceased
and on behalf of all survivors of Anthony Rodriguez,

MARTIN ROSENBAUM, as Administrator
of the Estate of Brooke David Rosenbaum, Deceased
and on behalf of all survivors of Brooke David Rosenbaum;

GLENNA M. ROSENBERG, as Administrator
of the Estate of Lloyd Daniel Rosenberg, Deceased
and on behalf of all survivors of Lloyd Daniel Rosenberg;

JILL ROSENBLUM, as Executor
of the Estate of Andrew I. Rosenblum, Deceased
and on behalf of all-survivers of Andrew I. Rosenblum;

JUDI A. ROSS, as Executor
of the Estate of Richard Ross, Deceased
and on behalf of all survivors of Richard Ross;

LAUREN ROSENZWEIG, as Administrator
of the Estate of Philip M. Rosenzweig, Deceased
and on behalf of all survivors of Philip M. Rosenzweig;

CLAUDIA RUGGIERE, as Administrator
of the Estate of Bart Joseph Ruggiere, Deceased
and on behalf of all survivors of Bart Joseph Ruggicre:

GILBERT RUIZ, JR., as Administrator
of the Estate of Gilbert Ruiz, Deceased

and on behalf of all survivors of Gilbert Ruiz;

ANDREA RUSSIN, as Administrator
of the Estate of Steven Russin, Deceased
and on behalf of all survivors of Steven Russin;

DIANE RYAN, Administrator
of the Estate of Edward Ryan, Deceased

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and on behalf of all survivors of Edward Ryan:

MARGARET RYAN, as (ad prosequendum)
of the Estate of Matthew Ryan, Deceased
and on behalf of all survivors of Matthew Ryan;

DELPHINE SAADA, as Administrator
of the Estate of Thierry Saada, Deceased
and on behalf of all survivors of Thierry Saada;

PEDRO SALEME, as Administrator, and

MARY LYNN SANTOS, Individually,

of the Estate of Carmen Milly Rodriguez, Deceased

and on behalf of all survivors of Carmen Milly Rodsizucz,

BARBARA SCARAMUZZINO, as Administrator
of the Estate of Nicholas Rossomando, Deceased
and on behalf of al! survivors of Nicholas Rossomando;

PHYLLIS SCHREIER, as Administrator
of the Estate of Jeffrey H. Schreier, Deceased
and on behalf of all survivors of Jeffrey H. Schreier;

MAUREEN SHERRY, as Administrator
of the Estate of John Anthony Sherry, Deceased
and on behalf of all survivors of John Anthony Sherry;

LORI SHULMAN, as Executor
of the Estate of Mark Shulman, Deceased
and on behalf of all survivors of Mark Shulman;

EILEEN SIMON, as Executor
of the Estate of Michael J. Simon, Deceased
and on behalf of all survivors of Michael J. Simon;

DHANRAJ SINGH, as Administrator
of the Estate of Khamladai K. Singh, Deceased
and on behalf of all survivors of Khamladai K. Singh;

MARK J. SISKOPOULOS, as Administrator
of the Estate of Muriel F. Siskopoulos, Deceased
and on behalf of all survivors of Muriel F, Siskopoulos;

DONNA SMITH, as Executor

of the Estate of James Gregory Smith, Deceased
and on behalf of all survivors of James Gregory Smith;

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BARBARA SOHAN. as Administrator
of the Estate of Astrid Elizabeth Sohan, Deceased
and on behalf of all survivors of Astrid Elizabeth Sohan;

ROBERT SPADAFORA, as Executor

of the Estates of Mary B. Trentini and James A. Trentini,
Deceased and on behalf of all survivors of Mary B.
Trentini and James A. Trentini;

LAURIE SPAMPINATO, as Administrator
of the Estate of Donald Spampinato, Deceased
and on behalf of all survivors of Donald Spampinato;

THERESA A. STACK, as (ad prosequendum)
of the Estate of Lawrence T. Stack, Deceased
and on behalf of all survivors of Lawrence T. Stack;

GREGORY STEVENS, as Administrator
of the Estate of Lisa Terry, Deceased
and on behalf of all survivors of Lisa Terry;

EDWARD J. SWEENEY, Administrator
of the Estate of Brian E. Sweeney, Deceased
and on behalf of ali survivors of Brian E. Sweeney;

EILEEN TALLON, as Fiduciary
of the Estate of Sean Patrick Tallon, Deceased
and on behalf of all survivors of Sean Patrick Tallon;

PATRICIA TARASIEWICZ, as Administrator
of the Estate of Allan Tarasiewicz, Deceased
and on behalf of all survivors of Allan Tarasiewicz;

EVELYN TEPEDINO, as Administrator
of the Estate of Jody Nichilo, Deceased
and on behalf of all survivors of Jody Nichilo;

RAJ THACKURDEEN & SAT THACKURDEEN, as co-
Administrators of the Estate of Goumatie Thackurdven, Deceased
and on behalf of all survivors of Goumatie Thackurdeen;

ROSANNA THOMPSON, as Administrator

of the Estate of Nigel Bruce Thompson, Deceased
and on behalf of all survivors of Nigel Bruce Thompson;

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ANDRIJA TOMASEVIC and RADMILA TOMASEVIC,
as Co-Administrators of the Estate of Vladimir
Tomasevie, Deceased and on behalf of

all survivors of Vladimir Tomasevic;

KIMBERLY TRIMINGHAM-AIKEN, as Administrator
of the Estate of Terrance Aiken, Deceased
and on behalf of all survivors of Terrance Aiken;

MARIE TWOMEY, as Administrator
of the Estate of Robert T. Twomey, Deceased
and on behalf of all survivors of Robert T. Twomey;

VICTOR UGOLYN, as Administrator
of the Estate of Tyler V. Ugolyn, Deceased
and on behalf of all survivors of Tyler V. Ugolyn;

FELICIANA UMANZOR, as Administrator
of the Estate of Elsy C. Osoria, Deceased
and on behalf of all survivors of Elsy C. Osoria:

VIRGINIA LORENE ROSSITER VALVO, as Administrator
of the Estate of Carlton F. Valvo, I], Deceased
and on behalf of all survivors of Carlton F. Valvo, U;

JASMINE A. VICTORIA and DAWN BROWN, as co-
Administrators of the Estate of Celeste Torres Victoria,
Deceased and on beha!f of all survivors of

Celeste Torres Victoria;

RICHARD VILLA, as Administrator
of the Estate of Sharon Christina Milan, Deceased
and on behalf of all survivors of Sharon Christina Milan;

LUCY VIRGILIO, as Administrator
of the Estate of Lawrence J. Virgilio, Deceased
and on behalf of all survivors of Lawrence J. Virgilio;

DIANE WALL, as Exccutor
of the Estate of Glen J. Wall, Deceased
and on behalf of all survivors of Glen J. Wall;

DIANE M. WALSH, as Administrator

of the Estate of Christine Barbutto, Deceased
and on behalf of all survivors of Christine Barbutto;

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AMY L. WEAVER, as Administrator
of the Estate of Todd Christopher Weaver, Deceased
and on behalf of all survivors of Todd Christopher Weaver;

DELIA WELTY, as Administrator
of the Estate of Timothy Matthew Welty, Deceased
and on behalf of all survivors of Timothy Matthew Welty;

KRISTIN GALUSHA- WILD, as Executor
of the Estate of Michael Stewart, Deceased
and on behalf of all survivors of Michael Stewart;

PATRICIA WISWALL, as Executor
uf the Estate of David Wiswall, Deceased
and on behalf of all survivors of David Wiswall:

ANNE M. WODENSHEK, as Administrator
of the Estate of Christopher W. Wodenshek, Deceased
and on behalf of all survivors of Christopher W. Wodenshek;

CELLA WOO-YUEN, as Administrator
of the Estate of Elkin Yuen, Deceased
and on behalf of all survivors of Elkin Yuen:

SIEW-SIM YEOW, as Administrator

of the Estate of Michael Waye, Deceased

and on behalf of all survivors of Michael Waye;
ERICA ZUCKER, as Executor

of the Estate of Andrew Zucker, Deceased

and on behalf of all survivors of Andrew Zucker;

NANCY LYNN ZUCKERMAN, as Administrator

of the Estate of Alan Jay Lederman, Deceased

and on behalf of all survivors of Alan Jay Lederman;
ALDO ADISSI;

EDWARD ARANCIO and KATITLEEN M. ARANCIO;
LEONARD ARDIZZONE and BARBARA ARDIZZONE;
THOMAS BAEZ;

JOSEPH BELTRANIT;

ANDREW BRAUN;

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JAMES CIZIKE;

THOMAS CONROY, JR.;
GIBSON A, CRAIG;
BRADLEY DALY,

ROBERT J. D’ELIA;
THOMAS DONNELLY;
CHARLES DOWNEY;
JOSEPH R. DOWNEY;
TIMOTHY L. FROLICH and IRENE FROLICH;
STEVEN M. GILLESPIE;
JOSEPH HANDS;

JOHN HASSETT;

JAMES D. HODGES, II;
NETTA ISSACOF;

JOHN F. JERMYN;

ARNOLD LEDERMAN and PHYLLIS LEDERMAN;
MICHAEL J. LINDY;

SANDY AMRITA MAHABIR;
WILLIAM MARTIN;

KEVIN McARDLE,

JAMES McGETRICK;

OWEN McGOVERN;

KEVIN G, MURPHY;
JANICE O’ DELL;

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TIMOTHY PARKER;
HOWARD RICE;

LOUIS SCHAEFER:
SCOTT SCHRIMPE,
RICHARD TING:
GEORGE LUIS TORRES,
ROBERT V. TRIVIGNO;
RUSSELL J. VOMERO;
EDWARD WALSH;

PHILIP J. ZEISS;
Plaintiffs,

V.

AL QAEDA ISLAMIC ARMY,
EGYPTIAN ISLAMIC JIHAD,
OSAMA BIN LADEN,
ESTATE OF MUHAMMAD ATEF,
AYMAN AL ZAWAHIRI,
ABU ZUBAYDH,
SAIF AL ADEL,
KHALID SHEIKH MOHAMMED,
ABDULLAH AHMED ABDULLAH,
ESTATE OF ABU HAFS a/k/a Khaled Al Shanguiti,
a/k/a Mafuz Ould Al Walid, "THE MAURITANIAN",
ESTATE OF ABU SALAH AL-YEMENI,
ESTATE OF ABU JAFFER AL-JAZIRI

a/k/a OMAR CHEBBANIL,
MUHSIN MUSA MATWALLI ATWAH,
ANAS AL LIBY,
IBN AL-SHAYKH AL-LIBI,
FAZUL ABDULLAH MOHAMMED,
AHMED MOHAMED HAMED AL],
MOHAMED SULEIMAN AL NALFI,
MUSTAFA MOHAMED FADHIL,
AHMED KHALFAN GHAITANI,
FAHID MOHAMMED ALLY MSALAM,

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SHEIKH AHMED SALIM SWEDAN,

MUHAMMAD ABU-ISLAM,

ABDULLAH QASSIM,

RAMZI BIN AL-SHIBB,

HASHIM ABDULRAHMAN,

MUSTAFA AHMED AL-HAWSA WI
a/k/a SHAYKH SAI’ID,

ABDULLAH AZZAM,

JAMAL AL-BADAWI,

MOHAMMED OMAR AL-HARAZI,

WALID AL-SOUROURL,

FATHA ADBUL RAHMAN,

YASSER AL-AZZANI,

JAMAL BAKHORSH,

AHMAD AL-SHINNI,

RAED HIJAZI,

JAMIL QASIM SAEED,

ABU ABDUL RAHMAN,

MOHAMED BAYAZID,

Terrorist Hijackers

THE ESTATE OF MARWAN AL-SHEHHI,
THE ESTATE OF FAYEZ AHMED,

THE ESTATE OF AHMED AIL GHAMDI,
THE ESTATE OF HAMZA AL GHAMDI,
THE ESTATE OF MOHALD AL SHEHRI,
THE ESTATE OF SATAM M. A. AL SUQAMI,
THE ESTATE OF ABDULAZIZ AL OMARI,
THE ESTATE OF WALEED M. AL SHEHRI,
THE ESTATE OF WAIL AL SITENIRI,

THE ESTATE OF MOHAMMED ATTA,
THE ESTATE OF KHALID AL MIDHAR,
THE ESTATE OF NAWAF AL HAZMI,

THE ESTATE OF HANI HANJOUR,

THE ESTATE OF SALEM AL HAZMI,

THE ESTATE OF MAJED MOQED,

THE ESTATE OF ZIAD SAMIR JARRAH ,
THE ESTATE OF AHMED IBRAHIM A. AL HAZNAWI,
THE ESTATE OF SAEED AL GHAMDI,
THE ESTATE OF AHMED AL NAMI,
ZACARIAS MOUSSAOUL,

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THE TALIBAN,
MUHAMMAD OMAR,

THE REPUBLIC OF IRAQ

IRAQI INTELLIGENCE AGENCY a/k/a The Mukhabarat
a/k/a The Fedayeen a/k/a Al-‘Qare a/k/a”Unit 999”
a/k/a "M-8 Special Operations",

SADDAM HUSSEIN,

QUSAY HUSSEIN,

UDAY HUSSEIN,

TAHA YASSIN RAMADAN,

MUHAMMED MAHDI SALAH,

FARUQ AL-HIJAZI,

SALAH SULEIMAN,

AHMED KHALIL IBRAHIM SAMIR AL-ANI,
HABIB FARIS ABDULLAH AL-MAMOURI,
ABDEL HUSSEIN a/k/a The Ghost,

HAQI ISMAIL,

TAHA AL ALWANI,

ABU AGAB,

ABU WAVEL,

CO-CONSPIRATORS

ARM Al-HADI al-IRAQI ,

ABD AL-MUSHIN AL-LIBI,

ABDUL RAHMAN KHALED BIN MAHFOUZ

ABDUL RAHMAN YASIN,

ABDULLA AL OBAID

ABDULA BIN LADEN,

ADVICE AND REFORMATION COMMITTEE,

AFGHAN SUPPORT COMMITTEE (ASC),

AHMAD I. NASREDDIN,

AHMED NUR ALI JUMALE a/k/a Ahmed Nur Ali Jim’ale,
AL KHALEEJIA FOR EXPERT PROMOTION AND MARKETING COMPANY,
AL RASHID TRUST,

AL TAQWA BANK,

AL TAQWA MANAGEMENT ORGANIZATION SA,

AL TAQWA TRADE, PROPERTY AND INDUSTRY, LTD.
AL-BARAKAAT GROUP,

AL-GAMMAAH AL ISLAMIAH,

AL-HARAMAIN,

ALBERT FRIEDRICH ARMAND HUBER a/k/a Ahmed Huber,
ALI] GHALEB HIMMAT,

ASAT TRUST REG.,

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BENEVOLENCE INTERNATIONAT. FOUNDATION, INC,
ENAAM M. ARNANOUT,
GLOBAL RELIEF FOUNDATION, INC.
INTERNATIONAL DEVELOPMENT FOUNDATION,
INTERNATIONAL ISLAMIC RELIEF ORGANIZATION (L1RO),
INTERNATIONAL INSTITUTE OF ISLAMIC THOUGHT (IIIT),
ISLAMIC ARMY FOR THE LIBERATION OF HOLY PLACES,
ISLAMIC CULTURAL INSTITUTE OF MILAN,
JAMAL BARZINI,
KIIALED BIN MAHFOUZ,
MOHAMED MANSOUR,
MOHAMMED JAMAL KHALIFA
MOHAMMED SALIM BIN MAHFOUZ,
NADA MANAGEMENT ORGANIZATION SA,
MUFTI MOHAMMED RASHID a/k/a RASHID
MUHAMMAD SALAH,
MUSLIM WORLD LEAGUE,
MUWAFFAQ FOUNDATION
NATIONAL COMMERCIAL BANK,
PRINCE NAYEF IBN ABDULAZIZ AL SAUD,
PRINCE SULTAN BIN ABDULAZIZ AL SAUD,
RABIH HADDAH,
RABITA TRUST,
SAAR FOUNDATION,
SAFIQ AYADI,
SAUDI SUDANESE BANK,
SHAMAL ISLAMIC BANK,
SHEIKH ABU BDUL AZIZ NAGI
SHEIK ADIL GALIL BATARGY a/k/a Adel
Abdul Jalil Batterjcc,
SOMALI INTERNET COMPANY,
SOMALI NETWORK AB,
SOMALI INTERNATIONAL RELIEF ORGANIZATION (U.S.A,),
SULEIMAN ABDEL AZIZ AL RAJHI,
TABA INVESTMENTS,
TANZANITE KING,
ULEMA UNION OF AFGHANISTAN,
WADI AL AQIQ,
WAFA HUMANITARIAN ORGANIZATION,
WORLD ASSEMBLY OF MUSLIM YOUTH
YASIN AL-QADI,
YOUSEF M. NADA,
YOUSEF M. NADA & CO. GESELLSCHAFT M.B.H.,

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YUSAF AHMED ATL,
Defendants.
v-- x

Plaintiffs, by their attorneys Kreindler & Kreindler, as and for their Complaint,
hereby allege:

1. Plaintiffs listed in the caption of this action are U.S. citizens or residents
who are either the Executors, Administrators or Personal Representatives of the Estates
of persons killed, or are persons injured in the September 11, 2001 terrorist allacks
perpatrated by some of the defendants with the support and assistance of the other
defendants, in which four United States’ commercial aircraft were caused to crash into
the World Trade Center ‘lowers, the Pentagon and a field in Shanksville, Pennsylvania
(hereinafter "September 11" Attacks"). Plaintiffs’ decedents were passengers or crew
members on board American Airlines Flights 11 and 77, United Airlines Flights 175 and
93, and persons present at both Towers of the World Trade Center in New York, or
present at the Pentagon in Virginia.

JURISDICTION AND VENUE

2. Jurisdiction arises pursuant to 28 U.S.C. §§ 1330(a) (actions against
foreign states), 1331 (federal question), 1332(a)(2), 1350 (""Alicn Tort Act"), 1605(a)(2),
1605(a)(5), 1605(a)(7) (the Foreign Sovereign Immunities Act), and the Torture Victim
Protection Act, PL 102-256, 106 Stat. 73 (reprinted at 28 U.S.C.A. § 1350 note (West
1993)),

3. Venue is proper in this district pursuant to the Air Transportation Safety

and System Stabilization Act, (Pub, Law 107-42, 115 Stat. 230), 49 U.S.C. § 40101,

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Title IV, § 408(b)(3), designating the Southern District of New York ("S.D.N.Y.") as the
exclusive venue for all civil litigation arising out of, or related to the September 11"
Attacks, and 28 U.S.C. 1391(b}(2) and 1391(f)(1) because a substantial number of acts,
occurrences, injuries and deaths occurred in the Southern District of New York.

4, This action for wrongful death, personal injury and related claims
perpetrated by the foreign state of IRAQ, through its official and unofficial employees,
agents and servants alleged herein, falls within the exceptions to immunity under 28
U.S.C. §§ 1605(a)(5) and 1605(a){7) (the Foreign Sovereign Immunities Act).

DEFENDANTS

5. Defendants are co-conspirators who intentionally, willfully and
knowingly conspired, planned, financed, supported, executed and carried out a plan to
murder, maim and injure United States’ citizens, residents and others on September 11,
2001; and all participated directly or indirectly in the September 11, 2001 terrorist
attacks on the United States of America, Defendants fall into three primary categories,
AL QAEDA and its members and associates, IRAQ - a State Sponsor of AL QAEDA’s
terrorist activities, and entities or individuals who provided financial or other support to
AL QAEDA and ils terrorist activities.

6. Defendant AL QAEDA, a/k/a Islamic Army, is an unincorporated
association organized to perpetrate acts of international terrorism, including murder,
mayhem, bombings and hijackings against the United States, its citizens and its allies.
AL QAEDA has also encouraged, financed and supported other terrorist groups who
targeted U.S. citizens. AL QAEDA, as of September 11, 2001, was headquartered in

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Afghanistan, but has a network of terrorist "cells" throughout the world.

7. Defendant OSAMA BIN LADEN a/k/a Usama Bin Laden, Abu
Abdullah, Mujahid Shaykh Hajjs and Abdul Hay, ("BIN LADEN") was formerly a
national of Saudi Arabia with Yemen as his ancestral home, but who is now an alien of
unknown nationality. He is last known to have been living in Afghanistan. BIN
LADEN has headed and directed the terrorist activities of AL QAEDA.

8. Defendants OSAMA BIN LADEN, MUHAMMAD ATEF, AYMAN AL
ZAWAHIRI, ABU ZUBAYDH, SAIF AL ADEL, KHALID SHEIKH MOHAMMED,
ABDULLAH AHMED ABDULLAH, ABU AL JAFAR AL-JAZIRI, ABU HAFS
a/k/a the Mauritanian, ABU JAFFER AL-JAZIRI, ABU SALAH AL-YEMENI,
MUHSIN MUSA MATWALLI ATWAH, ANAS AL. LIBY, FAZUT. ABDULLAH
MOHAMMED, AHMED MOHAMED HAMED ALI, MOHAMED SULEIMAN AL
NALFI, MUSTAFA MOHAMED FADHIL, AHMED KHALFAN GHAILANI, FAHID
MOHAMMED ALLY MSALAM, SHEIKH ALIMED SALIM SWEDAN,
MUHAMMAD ABU-ISLAM, ABDULLAH QASSIM, RAMZI BIN AL-SHIBB,
HASHIM ABDULRAHMAN, MUSTAFA AHMED AL-HAWSAWI, ABDULLAH
AZZAM, JAMAL AL-BADAWI, MOHAMMED OMAR AL-HARAZI, WALID AL-
SOUROURI, FATHA ADBUL RAHMAN, YASSER AL-AZZANI, JAMAL
BAKHORSH, AHMAD AL-SHINNI, RAED HIJAZI, JAMIL QASIM SAEED, ABU
ABDUL RAHMAN, MOHAMED BAYAZID, AL-SHAYKH AL-IRAQ] are or were
natural persons who, on or before September 11, 2001, were leaders or members of AL
QAEDA who conspired, acted in concert with, aided and abetted, sponsored and assisted

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directly and indirectly, in the September 11" terrorist attacks against the United States of
America.

9. MOHAMMED ATTA, MARWAN AL-SHEHHI, FAYEZ AHMED, AHMED
AL GHAMDI, HAMZA AL GHAMDI, MOHALD AL SHEHRI, SATAM M. A. AL SUQAMI,
ABDULAZIZ AL OMARI, WALEED M. AL SHEHRI, WAIL AL SHEHRI, KHALID AL

MIDHAR, NAWAF AL HAZMI, HANI HANJOUR, SALEM AL HAZMI, and MAJED
MOQED hijacked three commercial aircraft on September 11, 2001 and committed mass
murder by deliberately flying the aircraft into the World Trade Center and the Pentagon.
ZIAD SAMIR JARRAH, AHMED IBRAHIM A. AL HAZNAWI, SAEED AL GHAMDI, and
AHMED AL NAMI hyjacked United Airlines Flight 93 and attempted to deliberately fly
the aircraft into the White House or another prominent Washington D.C. landmark but
were thwarted by the efforts of heroic passengers, resulting in the aircraft crashing to the
ground in Shanksville, Pennsylvania. The "twenticth hijacker," ZACARIAS
MOUSSAOUT, was in custody on September 11, 2001, and thus unable to participate in
the attacks perpetrated that fatal day. Plaintiffs have named as defendants, the estates of
various AL QAEDA members who were killed on September 11" or in armed conflict
with allied forces since September 11, 2001.

10. Defendant the TALIBAN, as of September 11, 2001, was an
unincorporated association that served as the de facto government of Afghanistan from
approximately 1996 until after September 11, 2001, The TALIBAN. as of September 11,
2001, was headquartered in Kandahar, Afghanistan and had declared itself to constitute

the government of Afghanistan.

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11. Defendant MUHAMMAD OMAR ("OMAR") founded the TALIBAN in
1996. Since 1996, OMAR has been the leader of the TALIBAN's six member ruling
council and was responsible for the TALIBAN’s financial activities. OMAR,
individually and through the TALIBAN organization that he controlled, supplicd
material and logistical support to AL QAEDA and BIN LADEN in furtherance of their
terrorist plans to attack the United States of America and murder US. citizens.

12. AL QAEDA and the TALIBAN were closely linked. OMAR and the
TALIBAN afforded BIN LADEN special status in Afghanistan; and BIN LADEN was
the de facto head of TALIBAN intelligence and security. BIN LADEN acted on
OMAR’s behalf, by providing soldiers to crush opposition to the TALIBAN’s ruthless
tule inside Afghanistan. OMAR enabled BIN LADEN to export terrorism to the United
States by allowing him to construct and maintain camps in Afghanistan and train AL
QAEDA members and other terrorists from around the world in the deadly and depraved
methods of committing acts of violence, murder, destruction and mayhem. OMAR
refused to turn BIN LADEN over to the United States after the September 11" attacks
and instead, continued to offer sanctuary to BIN LADEN and AL QAEDA members.

13. Defendant the REPUBLIC OF IRAQ ("IRAQ") is a foreign sovereign
state located in the Middle East and shares borders with Saudi Arabia, Jordan, Syria,
Turkey, fran and Kuwait. The United States does not have formal diplomatic relations
with the current government of IRAQ, which maintains an office in New York, the
Permanent Representative of IRAQ to the United Nations, 14 East 79th Street, New
York, NY, 10021. IRAQ maintains an Interest Section in the Algerian Embassy in

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Washington, D.C., located at 1801 P Street, N.W. Washington, NC 20036.

14. Defendant, the IRAQI INTELLIGENCE AGENCY a/k/a the
Mukhabarat, a/k/a the Fedayeen, a/k/a Al-Qare, a/k/a Unit 999, a/k/a M-8 operations, is
the intelligence and operational entity in charge of conducting clandestine operations for
the Iraqi government and is an agency, instrumentality and/or organ of the Iraqi
government.

15. Defendants, SADDAM HUSSEIN, QUSAY HUSSEIN, UDAY HUSSEIN,

TAHA YASSIN RAMADAN, MUHAMMED MAHDI SALAH, FARUQ AL-HIJAZI, SALAH
SULEIMAN, AHMED KHALIL IBRAHIM SAMIR AL-ANI, HABIB FARIS ABDULLAH

AL-MAMOURI, and ABDEL HUSSEIN, a/k/a "The Ghost," ABU JAFFER AL-JAZIRI,
HAQI ISMAIL, TAHA AL ALWANI ABU AGAB, and ABU WA’EL are natural
persons, subjects and citizens of IRAQ and leaders, agents/or employees of IRAQ and/or
its INTELLIGENCE AGENCY, who participated in the acts and conspiracy described
below while acting in the course and scope of their employment.

16. The co-conspirator defendants are individuals, organizations, banks and
charities located all over the world who conspired with BIN LADEN, AL QAEDA,
IRAQ and the TALIBAN to raise, launder, transfer, distribute and hide funds for BIN
LADEN and AL QAEDA in order to support and finance their terrorist activities,
including, but not limited to, the September 11" attacks. Some of the individuals,
businesses, banks and charities operate legitimate businesses but also maintain a dual
role as an AL QAEDA co-conspirator and have activiely supported its terrorist

activities; while others, including some of the individuals, are a sham front for AL

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QAEDA or are full fledged members of AL OAEDA.

SUMMARY OF ALLEGATIONS

17. The horrific events of September 11" were the result of a world-wide
terror conspiracy against the United States involving primarily AL QAEDA and IRAQ,
who have conspired for many years to attack the United States and murder United
States’ citizens. Defendants supported, conspired, aided and abetted, sponsored, planned
and excculed the September 11" terror attacks that killed thousands of people and
injured many thousands more.

18. IRAQ has sworn revenge against the United States since 1992 for
TRAQ’s humiliating defeat in the Persian Gulf War. Since IRAQ could not defeat the
U.S. Military it resorted to terror attacks on U.S. citizens. In order to avoid another
confrontation with U.S. Military forces, IRAQ contracted with or sponsored Islamic
fundamentalists who were willing to commit terrorist acts on Iraq’s behalf. Indeed in
1993, Iraqi agents tried to destroy the World Trade Center by planting a bomb in the
World Trade Center parking garage.

19. For many years AL QAEDA wanted to drive the United States from the
Arabian peninsula, topple Middle East governments supported by the United States,
including Egypt and Israel, and create an Islamic empire based upon its narrow
interpretation of the Koran. Over the years, AL QAEDA has grown as it absorbed or
allied with other like-minded Islamic terrorist groups, including the EGYPTIAN
ISLAMIC JIHAD.

20. For the last 10 years, IRAQ’s leadership and AL QAEDA shared a

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virulent hatred of the United States.

21. As early as 1992, AL QAEDA terrorists established close working
relations with IRAQI INTELLIGENCE agents in the Sudan, Afghanistan, IRAQ and
elsewhere. Soon thereafter, IRAQI INTELLIGENCE decided to support AL QAEDA
and to employ AL QAEDA terrorists to carry out [RAQ’s terror attacks. The IRAQ-AL
QAEDA relationship benefitted TRAQ because it provided that state with trained
terrorists willing to die in terror attacks. As a secular state, IRAQ does not have a large
number of citizens wishing to become martyr warriors. Additionally, by using AL
QAEDA suicide terrorists, [RAQ, could disavow involvement in attacks and avoid
retribution. The relationship benefitted AL QAEDA who received support, funding,
facilities and training that it needed to carry out its terror campaigns.

22. During the mid 1990's IRAQ began actively supporting AL QAEDA
operations by providing intelligence, training, weapons, supplies, passports, travel
documents and financial support to co-conspirators. Significantly, one of IRAQ’s
training camps contained the fuselage of a Boeing 707 used to train AL QAEDA
terrorists in hijacking commercial aircraft.

23. AL QAEDA, backed by IRAQ, carried oul the September 11" terror
attacks with the financial and logistical support of numerous individuals and
organizations. These individuals and organizations provided AL QAEDA with the
means to recruit, train, and employ thousands of terrorists, including the twenty assigned
the ghastly mission to murder United States citizens and destroy U.S. landmarks on
September 11, 2001.

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24, This lawsuit seeks to strip the assets af AL QAEDA, BIN LADEN,
IRAQ and those individuals and organizations who participated in or supported the
September 11" terror attacks and recover compensatory and punitive damages for the
September 11" victims. By so doing, Plaintiffs hope to deter future acts of terrorism.

25. THE BIRTH OF AL QAEDA

Starting in 1989, an international terrorist group emerged dedicated to

oppusing non-Islamic governments with brutal force and terrifying violence. ‘This
organization grew out of the "mekhtab al khidemat" (the "AZZAM SERVICE
CENTER") organization which maintained offices in Peshawar, Pakistan and received
funds from Islamic charities, wealthy Saudi families, mosques, legitimate businesses and
criminal enterprises, among others.

26. Under the leadership of BINLADEN, MUHAMMAD ATEF, a/k/a
"Abu Hafs al Masry," Sheikh Taysir Abdullah, Abu Fatima; Abu Khadija; together with
"Abu Ubaidah al Banshiri" (deceased in 1996}, AYMAN AL ZAWAHIRI and others,
the AZZAM SERVICE CENTER expanded, creating terrorist cells in various parts of
the world, including Afghanistan, Pakistan and the United States, and financing and
supporting other terrorist groups dedicated to committing acts of violence, murder,
destruction and mayhem. From approximately 1989 until the present, this terrorist
group called itself"AL QAEDA" ("the Base").

27. At all relevant times, AL QAEDA was led by BIN LADEN. Members of
AL QAEDA pledged an oath of allegiance (called a "bayat") to BIN LADEN and AL
QAEDA, committing themselves to become martyrs in their depraved cause.

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28, AL QAEDA actively and vehemently opposed the United States for
several reasons. First, it regarded the United States as a "kafir" or "infidel" nation
governed in a manner inconsistent with the group's interpretation of Islam. Second, it
believed the United States was providing essential support for other "infidel" nations
and organizations, particularly the governments of Egypt, Israel and the United
Nations, which AL QAEDA regarded as enemies. Third, AL QAEDA opposed the
involvement of the United States armed forces in the Gulf War in 1991 and its presence
in the Middle East afterwards as illustrated by Operation Restore Hope in Somalia in
1992 and 1993. AL QAEDA viewed these as pretextual preparations for an American
occupation of Islamic countries. In particular, AL QAEDA opposed the continued
presence of American military forces in Saudi Arabia and elsewhere on the Saudi
Arabian peninsula following the Gulf War. Fourth, AL QAEDA opposed the United
States Government because of the arrest, conviction and imprisonment of AL QAEDA
members or other terrorists with wham it worked, including the Islamic Group’s Sheik
Omar Abdel Rahman who was convicted of planning to bomb bridges and tunnels in
New York City. Fifth, AL QAEDA believed United Nation sanctions against IRAQ
were orchestrated by the United States out of "eayerness to destroy Iraq”.

29, One of the AL QAEDA’s principal goals was to use violence to drive the
United States armed forces out of Saudi Arabia and Somalia. Members of AL QAEDA
issued fatwas (rulings on Islamic law) stating that attacks on the United States were both
proper and necessary.

30. At least as early as 1991, BIN LADEN and AL QAEDA began working

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closely with AYMAN AL ZAWAHIRI, a/k/a "Abdel Muaz,” a/k/a "Dr. Ayman al
Zawahini," a/k/a "the Doctor," a/k/a "Nur," a/k/a "Ustaz," a/k/a "Abu Mohammed," a/k/a
"Abu Mohammed Nur al-Deen," whose EGYPTIAN ISLAMIC JIHAD terrorist group
shared BIN LADEN and AL QAEDA’s goals. BIN LADEN had mct ZAWAIIIRI in
Peshawar, Pakistan in 1987 during the Afghan-Soviet War.

31. From in or about 1987, until in or about December 1997, AYMAN AL
ZAWAHIRI, led the EGYPTIAN ISLAMIC JIHAD, a group dedicated to the forceful
overthrow of the Egyptian Government and committing violence against the United
States, in part, for what ZAWAHIRI believed to be United States support of the
Egyptian Government. Members of EGYPTIAN ISLAMIC JIHAD pledged allegiance
to AL ZAWAHIRI. Many of the leading members of the EGYPTIAN ISLAMIC
JIHAD ultimately became influential members of AL QAEDA, including AYMAN AL
ZAWAHIRI and MUHAMMAD ATEF. By February 1998, the EGYPTIAN ISLAMIC
JTHAD led by AL ZAWAHIRI had effectively merged with AL QAEDA and had joined
with AL QAEDA in targeting United States citizens.

32. AL QAEDA had a command and control structure which included a
majalis al shura (or consultation council) that discussed and approved major
undertakings, including terrorist operations. BIN LADEN, MUHAMMAD ATEF, a/k/a
"Abu Hafs," AYMAN AL ZAWAHIRI, SAIF AL ADEL, Mamdouh Mahmud Salim,
avk/a "Abu Hajer,” and ABDULLAH AHMED ABDULLAH, a/k/a "Abu Mohamed el
Masry," a/k/a "Saleh,” among others, sat on the majalis al shura (or consultation
council) of AL QAEDA. Its affiliate, the EGYPTIAN ISLAMIC JIHAD had a

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Founding Council, on which Ibrahim Eidarous sat.

33. AL QAEDA also maintained a "military committee" which considered
and approved "military" matters. MUHAMMAD ATEF sat on the military committee
and was one of BIN LADEN's two principal military commanders together with "Abu
Ubaidah al Banshiri," (until his death in May 1996). MUHAMMAD ATEF had the
principal responsibility for supervising the training of AL QAEDA members. SATF AL
ADEL also served on the military committee reporting to MUHAMMAD ATEEF.

34. AL QAEDA functioned both on its own and as a conduit for other
terrorist organizations in other parts of the World that shared its ideology, such as the
EGYPTIAN ISLAMIC JIHAD, Ahmed Refai Taha, a/k/a "Abu Yasser al Masri," and a
number of jihad terrorist groups in other countries, including the Sudan, Egypt, Saudi
Arabia, Yemen, Somalia, Eritrea, Djibouti, Afghanistan, Pakistan, Bosnia, Croatia,
Albania, Algeria, Tunisia, Lebanon, the Philippines, Tajikistan, Azerbaijan, the
Kashmiri region of India and the Chechnyan region of Russia. AL QAEDA camps
were used to train terrorists to fight in Islamic causes, such as supporting Pakistan in its
dispute with India over the province of Kashmir, AL QAEDA maintained terrorist cells
and personnel in a number of countries to facilitate ils activities, including Kenya,
Germany, Tanzania, the United Kingdom, Canada and the United States.

35. BIN LADEN and AL QAEDA also forged alliances with the National
Islamic Front in the Sudan and with representatives of the government of Iran, and its
associated terrorist group Hizbollah, for the purpose of working together against their
perceived commen enemies in the West, particularly the United States.

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36. — At various times from as early as 1989, BIN LADEN, and others known
and unknown, ran terrorist training "camps and guesthouses” in various areas, including
Afghanistan, IRAQ, Iran, Pakistan, the Sudan, Somalia, Kenya, Malaysia, Philippines
and Germany for the use of AL QAEDA and its affiliated groups. Mamdeuh Mahmud
Salim, ABU HAJER AL IRAQI, an Iraqi, managed some of these training camps and
guesthouses in Afghanistan and Pakistan.

37, Since 1991, BIN LADEN, AL QAEDA and many of their co-defendants
unlawfuily, wilfully and knowingly combined, conspired, confederated and agreed to
murder and injure United States citizens throughout the world, including in the United
States, and to conceal their activities and methods by, among other things, establishing
front companies, providing false identity and travel documents, financing terrorist
operations, engaging in coded correspondence, providing false information to the

authorities in various countries and seeking to detect and kill informants.

IRAQI TERRORISM
38. Since the early 1990s, IRAQ and IRAQI INTELLIGENCE have used
both Iraqi agents and independent "contractors" to commit terrorist acts against the
United States in revenge for Iraq’s Gulf War defeat. AL QAEDA was IRAQ’s favorite
partner in crime and terror,
39. Upon information and belief, there have been numerous meetings
between IRAQI Intelligence agents and high-ranking AL QAEDA terrorists to plan

terror attacks. Once such meeting occurred in 1992, when ZAWAITIIRI (EGYPTIAN

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ISLAMIC JIHAD leader and AL QAEDA officer) met with IRAQI INTELLIGENCE
agents in Baghdad, IRAQ over several days. An IRAQI serving with the TALIBAN
who fled Afghanistan in the fall of 2001, was captured in Kurdistan and has
corroborated this meeting and confirmed that IRAQI contacts with AL QAEDA began
in 1992.

THE SUDAN

40. In 1991, BIN LADEN left Saudi Arabia and relocated in the Sudan. He
centered his AL QAEDA operations there for the next four years while maintaining
offices and orchestrating terrorist recruitment, training and attacks in various parts of the
world. BIN LADEN recruited new members in the Sudan, such as MOHAMED
SULEIMAN AL NALFI and at least 200 Afghan Arabs, Saudis, Yemenis and Egyptians
who had fought against the Soviets in Afghanistan and who became part of AL
QAEDA’s cell in the Sudan. Abu Hajer Al-Iraqi, a/k/a Mamdouh Mahmud Salim, an
Iraqi, served as BIN LADEN’s top lieutenant in the Sudan shortly after BIN LADEN’s
arrival there.

4]. While AL QAEDA’s presence was growing in the Sudan in 1992, the
Government of IRAQ was alsu developing close ties with the Sudanese government.
Sudan supported IRAQ during the Gulf War and allowed IRAQ to establish a major
IRAQI INTELLIGENCE center in the Sudan through IRAQ’s ambassador to Khartoum,
Abd al Samad al-Ta’ish. Al Ta’ish was a highly placed IRAQI INTELLIGENCE agent,
who brought 35 other intelligence officers with him to the Sudan to establish a base for
Iraqi operations. Al Ta’ish remained in the Sudan through the summer of 1998. IRAQ

arranged to smuggle scud missiles, chemical weapons and uranium into the Sudan using

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Sudanese diplomatic mail privileges and other means. Sudan agreed to store this
material for IRAQ for safekeeping after the Gulf War to help circumvent U.N. weapons
inspections.

42. During the early 1990s, Sudan’s Sheikh Iassan al-Tourabi of the Islamic
National Front arranged meetings between BIN-LADEN and IRAQI INTELLIGENCE
officials. BIN LADEN met with FARUQ AL-HIJAZI, an IRAQI INTELLIGENCE
agent in the Sudan who would later head IRAQ] INTELLIGENCE tor SADDAM
RUSSEIN. BIN LADEN again met with IRAQI INTELLIGENCE officers in 1994 and
1995 in the Sudan. At these meetings, BIN-LADEN and IRAQI INTELLIGENCE
secret service director FARUQ AL-HIJAZI agreed to work together on terrorist projects
directed against the U.S.

43. During his time in Sudan, BIN LADEN became interested in using Iraqi
chemical and biological weapons and explored plans to use crop dusting aircraft to
disperse toxins as the IRAQI INTELLIGENCE and military had donc a few years
earlier in Kurdistan.

THE 1993 WTC BOMBING

44. On February 26, 1993 a bomb was detonated in the World Trade Center
underground parking lot, killing six U.S. citizens. IRAQI sponsored terrorists planned,
financed, executed and carried out that World Trade Center bombing.

45. the 1993 WTC bombing, took place on the Friday before the two year
anniversary of IRAQ’s defeat in Kuwait, which was F ebruary 28, 1991. The
anniversary in 1993, was a Sunday and few people would have been working at the

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World Trade Center that day; and IRAO and the terrorists wanted to maximize the
number of American casualties.

46. During the initial planning of the WTC bombing, Mahmud Abu Halima
(who was later convicted for his role in the bombing) was in regular and frequent contact
with his uncle Kadri Abu Bakr, who lived in IRAQ and had been a member of a PLO
faction allied with SADDAM HUSSEIN. Shortly after these calls, the mastermind of
the bombing, Ramzi Ahmed Yousef, an IRAQI INTELLIGENCE agent, traveled to the
United States using travel documents forged in Kuwait during the Iraqi occupation of
that country in 1991,

47. Ramzi Yousef arrived in New York on September 1, 1992 using an Iraqi
passport and requesting asylum. On December 31, 1992, he presented photocopies of
passports for Abdul Basit at the Pakistani consulate in New York claiming to be Basit
and requesting replacement of his "lost" passport. The real Basit was a Pakistani citizen
who had moved to Kuwait and disappeared during the Iraqi occupation in August 1990.
TRAQI INTELLIGENCE had access to the Kuwaiti Interior Ministry files and upon
information and belief, inserted Yousef’ s fingerprints into the file and provided him with
photocopies of two older passports from Basit’s file. The Pakistani Consulate,
accordingly, provided Yousef a temporary passport, based on the false documents. This
provided Yousef with a means to escape the U.S. two days after the World Trade Center
bombing. In fleeing the United States after the bombing, Yousef first traveled through
Baluchistan, an uncontrolled region of Iran straddling the border of Iran and Pakistan
with strong ties to IRAQ. By the following year, 1994, Yousef was living in the

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Phillippines. He fled there however, after authorities discovered a plan he was working
on to bomb United States’ airliners. Yousef fled to Pakistan and was eventually
sheltered at an AL QAEDA guesthouse. He was arrested in February 1995 in Pakistan
and extradited to the U.S. for prosecution and was eventually convicted in the 1993
World Trade Center bombing conspiracy.

48. ABDUL RAHMAN YASIN, who was born in the United States to
TRAQI parents but had been raised in Iraq, was questioned in New York and New Jersey
in connection with the World Trade Center bombing, but was released after appearing to
cooperate with U.S. officials. He fled the country the next day and traveled to Baghdad,
IRAQ. U.S, prosecutors later learned that he, along with others, had prior training in
bomb making, and had mixed the chemicals and constructed the bomb that was used on
the World Trade Center. [IRAQI INTELLIGENCE knew of Yasin’s presence in IRAQ
and provided him refuge. On August 4, 1993 Yasin was indicted in absentia for the
World Trade Center bombing.

49. In June 1994 YASIN was seen in Baghdad by an ABC news
correspondent who was told that YASIN worked for IRAQI government. U.S. law
enforcement officials confirmed that fugitive YASIN has been sheltered in IRAQ, a
continuing violation of United Nationals Security Council Resolution 687 which makes
it unlawful to harbor a suspected terrorist. In June 2002, YASIN was interviewed in
Baghdad by Leslie Stahl from CBS. Yasin still remains in Iraq.

50. Ramzi Ahmed Yousef, Mohammed Salameh, Nidal Ayyad, Mahmud
Abu Halima and Ahmad Mohammed Ajaj were all eventually convicted in the Southern

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District of New York for the 1993 conspiracy ta bomb the World Trade Center.

51. Following his arrest in 1995, Ramzi Yousef told U.S. investigators that
his intent was to create an explosion that would cause one of the World Trade Center
Towers to fall over onto the other, destroying both and causing massive American
casualties. Yousef had also planned to use sodium cyanide to create a toxic cyanide gas
cloud throughout the area that would poison those in the building. Fortunately, the
sodium cyanide was consumed in the blast and vaporized. Before the Gulf War, IRAQ
had the largest and most diversified terrorist chemical weapons program in stockpiles of
sodium cyanide, and had experience in the late 1980's using chemical weapons against
its Kurdish population. Upon information and belief, it was IRAQ that supplied Yousef
with the sodium cyanide,

32. During the worldwide hunt for fugitive Ramzi Yousef, he was living in
the Phillippines with KHALID SHEIKH MOHAMMED. KHALID SHEIKH
MOHAMMED?’S involvement in terror activities became known when law enforecment
authorities interrupted a plot to blow up a dozen U.S. commercial airliners flying to the
United States from Asian cities. MOHAMMED’S participation in the planning of these
acts of terror was uncovered by authorilies aller Yousef accidently started a fire in his
apartment in Manila while mixing bomb chemicals. Filipino authorities were
Suspicious when they saw chemicals, bomb making instructions and timing devices in
the apartment and they seized those items along with a computer containing the details
of the airliner bombing plans. MOHAMMED and Yousef fled the country, before they
could be arrested.

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53. MOHAMMED eventually found sanctuary in Doha, Qatar. In early
1996, MOHAMMED was visited in Qatar by BIN LADEN. Around the same time, FBI
director, Louis Freeh, wrote to the Qatari government requesting that it surrender
MOHAMMED to U.S. authorities. Not long after the FBI request, with the assistance of
Qatari officials, MOHAMMED fled to Prague, Czech Republic, foiling U.S. attempts to
arrest him.

54, MOHAMMED’s whereabouts after his escape to Prague in May 1996 are
not known, but documents and AL QAEDA members captured in Afghanistan identified
MOHAMMED as a leader in the AL QAEDA terror network and actively involved in
the planning, logistics and financing of the September 11" attacks. His participation in
the planned hijacking of U.S. commercial airliners was not new for him. MOHAMMED
is a close associate of ABU ZUBAYDAH, a top BIN LADEN associate who was fully
aware of the targets of the September 11" hijackers. ZUBAYDAH is in the custody of
United States authorities and is providing some information about AL QAEDA
operations.

SOMALIA

55, In 1992 and 1993, AL QAEDA trained terrorists in Somalia and
attempted to incite an Islamic jihad there against U.S. military forces stationed in
Mogadishu, Somalia by working with Somali warlord, General Farah Adid. BIN
LADEN issued a fatwa urging Muslims to attack the U.S. and U.N. military forces
stationed there during Operation Restore Hope. BIN Laden, Mamdouh Mahmud Salim,
MUHAMMAD ATEF, SAIF AL ADEL, ABDULLAH AHMED ABDULLAH,

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